       Case 4:18-cv-00123 Document 352 Filed on 07/21/22 in TXSD Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

 UNITED STATES OF AMERICA, the                    §
 STATE OF TEXAS, the STATE OF                     §
 COLORADO, the STATE OF INDIANA, the              §
 STATE OF IOWA, the STATE OF                      §
 MINNESOTA, the STATE OF NEW                      §
 MEXICO, the STATE OF TENNESSEE,                  §
 the STATE OF WASHINGTON, ex. rel.                §
 HICHEM CHIHI,                                    §        Civil Action No. 4:18-cv-00123
                                                  §
                             Plaintiff-Relator,   §
                                                  §
                        v.                        §
                                                  §
 CATHOLIC HEALTH INITIATIVES; et al               §
                                                  §
                              Defendants.

DEFENDANT ALAN HOFFMAN, M.D.’S UNOPPOSED MOTION TO EXTEND TIME TO
         ANSWER RELATOR’S SECOND AMENDED COMPLAINT

        Defendant ALAN HOFFMAN, M.D. files this Unopposed Motion to Extend Time to Answer

Relator’s Second Amended Complaint and shows the Court as follows:

        1.     Relator’s Second Amended Complaint against Defendant Alan Hoffman, M.D. and

thirty-five other defendant healthcare providers was filed on December 4, 2019 and entered on July

8, 2020. Dkt. 273. The Complaint alleges violations of the Anti-Kickback Statute, the Stark Act, and

the False Claims Act.

        2.     On November 16, 2020, Defendants filed motions to dismiss this case. Dkts. 302 &

303.

        3.     On July 8, 2022, the Court entered an Order granting in part and denying in part the

motions to dismiss, and dismissing all Defendants other than Dr. Hoffman and the CHI Defendants.

Dkt. 351.
         Case 4:18-cv-00123 Document 352 Filed on 07/21/22 in TXSD Page 2 of 3




          4.    Accordingly, Defendant’s deadline to respond to Relator’s Second Amended

Complaint is July 22, 2022.

          5.    Defendant’s counsel had longstanding vacation arrangements for the week of July 15-

21, 2022.

          6.    Defendant conferred with Relator to seek Relator’s position on a one-week extension

of the deadline for Defendant to answer Relator’s Second Amended Complaint to allow Defendant

additional time to review and analyze the Complaint in the case and prepare an answer. Relator

indicated that he is unopposed to such an extension.

          7.    Thus, Defendant’s time to Answer Relator’s Second Amended Complaint would be

extended until July 29, 2022.

          8.    This motion is brought in good faith in advance of Defendant’s deadline to answer

and will not result in prejudice to any party.

          9.    This motion is accompanied with a proposed Order.

          WHEREFORE, PREMISES CONSIDERED, Defendant ALAN HOFFMAN, MD

respectfully requests that the Court grant his Unopposed Motion to Extend Time to Answer Relator’s

Second Amended Complaint and enter the proposed Order extending Defendant’s deadline to Answer

until July 29, 2022.




768656
         Case 4:18-cv-00123 Document 352 Filed on 07/21/22 in TXSD Page 3 of 3




                                              Respectfully submitted,
                                              SCOTT, CLAWATER & HOUSTON, LLP

                                              By:    /s/ Sam Houston
                                                     Sam A. Houston
                                                     State Bar No. 10059550
                                                     Federal ID No. 10606
                                                     shouston@schlawyers.com
                                                     2727 Allen Parkway, Suite 500
                                                     Houston, Texas 77019
                                                     713.650.6600 (Telephone)
                                                     713.579.1599 (Facsimile)

                                              ATTORNEY FOR DEFENDANT
                                              ALAN HOFFMAN, M.D.


                              CERTIFICATE OF CONFERENCE

         I hereby certify that I conferred with Relator’s counsel Ruth Brown and she is unopposed to
the filing of this motion.

                                              /s/ Sam Houston
                                              Sam A. Houston



                                 CERTIFICATE OF SERVICE

       I hereby certify that, on the 21st day of July, 2022, the foregoing document has been
electronically submitted to the clerk of court for the U.S. District Court Southern District
of Texas, Houston Division and all parties are being served via the Court’s CM/ECF
system.

                                              /s/ Sam Houston
                                              Sam A. Houston




768656
